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     Attorney for Defendant
 5
     MICHAEL LEONARD LOVATO
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-10-437 WBS
 9
                                                     )
                                                     )
10          Plaintiff,                               )       STIPULATION AND
                                                     )       [PROPOSED ORDER] CONTINUING
11
     v.                                              )       STATUS CONFERENCE
                                                     )
12
     AMADOR ELI ROSALES, et al.,                     )       Date: January 9, 2012
                                                     )       Time: 8:30 a.m.
13
                                                     )       Judge: Honorable William B. Shubb
            Defendants.                              )
14
                                                     )
                                                     )
15
                                                     )
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17          IT IS HEREBY stipulated between the United States of America through its undersigned

18   counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant

19   Michael Leonard Lovato, John R. Manning, Esq., counsel for defendant Jonathan Gonzalez,

20   Danny D. Brace, Jr., Esq., counsel for defendant Andre Kovacs, James P. Chandler, Esq.,

21   counsel for defendant Tony Rosales, Dan F. Koukol, Esq., counsel for defendant Adrianna Cano,

22   Mark J. Reichel, Esq., and counsel for defendant Derick Noble, Timothy E. Warriner, Esq., that

23   the status conference presently set for November 7, 2011 be continued to January 9, 2012, at

24   9:30 a.m., thus vacating the presently set status conference.

25          Defense counsel requires additional time to review the voluminous discovery and

26   perform investigation. Therefore, counsel for the parties stipulate and agree that the interests of

27   justice served by granting this continuance outweigh the best interests of the defendants and the

28   public in a speedy trial. 18 U.S.C. 3161(h)(7)(A) (continuity of counsel/ reasonable time for



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 1   effective preparation) and Local Code T4, and agree to exclude time from the date of the filing of
 2   the order until the date of the status conference, January 9, 2012.
 3

 4   IT IS SO STIPULATED.
 5

 6   Dated: November 3, 2011                                        /s/ John R. Manning
                                                                   JOHN R. MANNING
 7                                                                 Attorney for Defendant
                                                                   Michael Leonard Lovato
 8

 9   Dated: November 3, 2011                                        /s/ Danny D. Brace, Jr.
                                                                   DANNY D. BRACE, JR.
10                                                                 Attorney for Defendant
11
                                                                   Jonathan Gonzalez

12   Dated: November 3, 2011                                        /s/ James P. Chandler
                                                                   JAMES P. CHANDLER
13                                                                 Attorney for Defendant
14
                                                                   Andre Kovacs

15   Dated: November 3, 2011                                       /s/ Dan F. Koukol
                                                                   DAN F. KOUKOL
16
                                                                   Attorney for Defendant
17                                                                 Tony Rosales

18   Dated: November 3, 2011                                       /s/ Mark J. Reichel
                                                                   MARK J. REICHEL
19
                                                                   Attorney for Defendant
20                                                                 Adrianna Cano

21   Dated: November 3, 2011                                       /s/ Timothy E. Warriner
                                                                   TIMOTHY E. WARRINER
22
                                                                   Attorney for Defendant
23                                                                 Derick Noble

24

25
     Dated: November 3, 2011                                       Benjamin B. Wagner
26                                                                 United States Attorney

27                                                         by:     /s/ Jill M. Thomas
                                                                   JILL M. THOMAS
28
                                                                   Assistant U.S. Attorney


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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                        ) No. CR-S-10-0437 WBS
10
                                                      )
                                                      )
11          Plaintiff,                                ) ORDER TO
                                                      ) CONTINUE STATUS CONFERNCE
12
     v.                                               )
                                                      )
13
     AMADOR ELI ROSALES, et al.,                      )
                                                      )
14
                                                      )
            Defendants.                               )
15
                                                      )
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            The Court, having received, read, and considered the stipulation of the parties, and good
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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based
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     on the stipulation of the parties and the recitation of facts contained therein, the Court finds that
20   it is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within
21   the time limits established in 18 U.S.C. § 3161. In addition, the Court specifically finds that the
22   failure to grant a continuance in this case would deny defense counsel to this stipulation
23   reasonable time necessary for effective preparation, taking into account the exercise of due

24
     diligence. The Court finds that the ends of justice to be served by granting the requested
     continuance outweigh the best interests of the public and the defendants in a speedy trial.
25
            The Court orders that the time from the date of the parties' stipulation, November 3,
26
     2011, to and including January 9, 2012, shall be excluded from computation of time within
27
     which the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18
28
     U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T4 (reasonable time for defense


                                                       3
              Case 2:10-cr-00437-WBS Document 143 Filed 11/08/11 Page 4 of 4


     counsel to prepare). It is further ordered that the November 7, 2011, status conference shall be
 1
     continued until January 9, 2012, at 9:30 a.m.
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 4   IT IS SO ORDERED.

 5   Dated: November 7, 2011
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